            Case 4:21-cr-00215-BRW Document 29 Filed 02/22/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

UNITED STATES OF AMERICA

v.                                                             Case Nos. 4:19-cr-00219-3-BRW
                                                                        4:21-cr-00215-1-BRW
CHRISTOPHER DAVID HIGGINS

                                             ORDER

       Defendant seeks temporary release from custody for the purpose of attending a medical

appointment.    (Case No. 4:19-cr-00219-3-BRW, Doc. No. 103; Case No. 4:21-cr-00215-1-BRW,

Doc. No. 27.)    Pursuant to 18 U.S.C. § 3142(i), I find the appointment qualifies as a compelling

reason for temporary release.   Accordingly, Defendant’s Motion is GRANTED.

       IT IS, THEREFORE, ORDERED that:

       1.       Defendant be temporarily released from custody on Thursday, February 24, 2022,

no earlier than 9:00 a.m., for the sole purpose of attending a 2:15 p.m. appointment at the UAMS

Surgery Clinic in Little Rock, Arkansas.

       2.       Defendant’s family is to provide Defendant with transportation to and from the

appointment.

       3.       Defendant is to return to his current place of custody no later than 8:30 p.m. sharp

on Thursday, February 24, 2022.

       SO ORDERED this 22nd day of February 2022.



                                                      ___________________________________
                                                      JOE J. VOLPE
                                                      UNITED STATES MAGISTRATE JUDGE
